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PROB12A1                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                  Donnie Mack EARNEST

Docket Number:                  2:00CR00586-01

Offender Address:               West Sacramento, California

Judicial Officer:               Honorable William B. Shubb
                                Senior United States District Judge
                                Sacramento, California

Original Sentence Date:         04/11/2001

Original Offense:               18 USC 2113(a) and 2 - Bank Robbery, Aiding and
                                Abetting
                                (CLASS C FELONY)

Original Sentence:              33 months Bureau of Prisons; 3 year term of supervised
                                release; $12,100 restitution; $100 special assessment

Special Conditions:             Search and seizure; Financial disclosure; Correctional
                                treatment; Drug testing; Aftercare co-payment.

Type of Supervision:            Supervised Release

Supervision Commenced:          04/02/2003

Assistant U.S. Attorney:        Anne Pings               Telephone: (916) 554-2700

Defense Attorney:               Jeffrey L. Staniels      Telephone: (916) 498-5700

Other Court Action:

01/13/2004:                     Report and Recommendation of Noncompliance
                                directed to the Court, advising the Court that the
                                offender had submitted urine samples which tested
                                positive for marijuana use. The offender was increased
                                in his frequency of urine testing, required to attend
                                Narcotics Anonymous meetings, and required to
                                participate in group counseling. The Court approved
                                                                                R ev. 04/2005
                                                                           P R O B 12A 1.M R G
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                                  the probation officer’s plan and no further action was
                                  taken.


                            NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.    IRREGULAR FINE/RESTITUTION PAYMENTS


Details of alleged non-compliance: The offender will owe an outstanding balance
towards restitution when the term of supervised release expires on April 1, 2006. The
offender has paid a total of $2013.50 towards the original financial obligation owed of
$12,200. The outstanding balance is $10, 186.50.


United States Probation Officer Plan/Justification: Since inception of supervision, the
offender has been diligent in making monthly restitution payments in the amount of $25,
$50 or $100 per month, depending upon his income and resources. This offender has not
missed a monthly payment during his term of supervised release.

During his term of supervised release, the offender has had brief periods of unemployment,
however, has been working as a truck driver for the same company since May of 2004.
The undersigned is confident that the offender will cooperate and make every effort to pay
this obligation after expiration of supervision.

The United States Attorney's Office Financial Litigation Unit will be notified of the
impending expiration of supervision and they will continue to monitor the offender's
compliance with his financial obligation to the Court after expiration of supervision.
Accordingly, we are recommending that this case be allowed to expire as scheduled on
                                                                                    R ev. 04/2005
                                            2                                  P R O B 12A 1.M R G
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April 1, 2006, without adverse action being taken against the offender for his failure to
address his restitution obligation in full during his period of supervision.

                                 Respectfully submitted,


                                  /s/Glenn P. Simon
                                  GLENN P. SIMON
                            United States Probation Officer
                              Telephone: (916) 930-4306

DATED:       March 6, 2006
             Sacramento, California
             GPS/cp


REVIEWED BY:        /s/Kyriacos M. Simonidis
                    KYRIACOS M. SIMONIDIS
                    Supervising United States Probation Officer



THE COURT ORDERS:

[x]   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.
Date: March 7, 2006




cc:   United States Probation
      Anne Pings, Assistant United States Attorney
      Jeffrey L. Staniels, Defense Attorney

Attachment: Presentence Report (Sacramento only)




                                                                                   R ev. 04/2005
                                            3                                 P R O B 12A 1.M R G
